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                                                        United States of America
                                       In the District Court for the Eastern District of Michigan
                                                           Southern Division

                           AFT Michigan,                               Hon. Linda V. Parker, District Judge
                                Plaintiff,
                           v                                                        Case No.: 17-cv-13292

                           Project Veritas, a foreign corporation,
                           and Marisa L. Jorge, alkla Marissa Jorge,
                           aJkla Marissa Perez,
                                  Defendants.


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                           P12273                                   P72179



                                              Plaintiff’s Motion to Compel Discovery




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                                                             United States of America
                                            In the District Court for the Eastern District of Michigan
                                                                Southern Division

                           AFT Michigan,                                       Hon. Linda V. Parker, District Judge
                                Plaintiff,
                           V                                                                  Case No.: 17-cv-13292

                           Project Veritas, a foreign corporation,
                           and Marisa L. Jorge, alk/a Marissa Jorge,
                           aJkla Marissa Perez,
                                  Defendants.


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                                                     Plaintiff’s Motion to Compel Discovery


                                  Plaintiff moves for an order directing the Defendants to participate in the Rule 26(f)

                           conference and to commence discovery. The reasons this motion should be granted are set out

                           in the annexed brief.

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                                                              United States of America
                                             In the District Court for the Eastern District of Michigan
                                                                 Southern Division

                             AFT Michigan,                                        Hon. Linda V. Parker, District Judge
                                    Plaintiff,
                             v                                                                   Case No.: 17-cv-13292

                             Project Veritas, a foreign corporation,
                             and Marisa L. Jorge, alk!a Marissa Jorge,
                             aJkla Marissa Perez,
                                    Defendants.


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                                                 Brief in Support of Motion to Compel Discovery


                                    The Court should direct the Defendants to participate in the Rule 26(f) conference

                             forthwith and order each Defendant to submit to appropriate discovery.

                                    Defendants have refused discovery. On December 27, 2017, Plaintiffs counsel wrote

                             Defendant’s counsel to request that the Rule 26(f) conference be convened and that the parties

                             agree on a date for the deposition of Defendant Marissa Jorge. Defendants’ counsel responded
   MARK H. CousENs
      Arro~Y                 politely declining to do so. The Defendants’ reasoning is that a motion to dismiss is pending
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                                    A motion to dismiss does not stay discovery. To the contrary, Rule 26 contemplates that

                             the parties will engage in a discovery conference promptly. A moratorium on discovery exists
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                            until the Rule 26(f) conference but nothing suggests that there is a moratorium on the

                            conference, itself. To the contrary:

                                   “It is not the usual practice of this Court, however, to order a stay of discovery
                                   solely on the ground that a defendant has filed a motion to dismiss. See Flagg
                                   v. City ofDetroit, No. 05—74253, 2008 WL 787039, at *3 (E.D.Mich. Mar.20,
                                   2008). Other courts likewise have recognized that “[t]he mere filing of a
                                   dispositive motion does not warrant the issuance of a stay [of discovery]
                                                        ...


                                   under Rule 26(c).” Hayes v. Liberty Mutual Group Inc., No. 11—15520, 2012
                                   WL 1564697, at *7 (E.D.Mich. May 2, 2012); see also Morien v. Munich
                                   Reinsurance America, Inc., 270 F.R.D. 65, 67 (D.Conn.2010); Spencer Trask
                                   Software & Information Services, LLC v. RPost International Ltd., 206 F.R.D.
                                   367, 368 (S.D.N.Y.2002); United States v. County ofNassau, 188 F.R.D. 187,
                                   188 (E.D.N.Y. 1999).”

                            Porter v. Five Star Quality Care-ML LLC, 2014 WL 823418, at *2 (E.D.Mich.,2014)

                                   It is appropriate that discovery proceed promptly. This Court has vacated the injunction

                            which prevented the Defendants from publishing information taken unlawfully from Plaintiff.

                            Without the injunction, Defendants may now engage in conduct that will irreparably harm

                            Plaintiff and so Plaintiff’s interests in engaging in immediate discovery are now heightened.

                            Therefore, Plaintiff is in a classic conundrum: it has every reason to believe that Defendant

                            Jorge used her access to AFT Michigan premises to unlawfully obtain private and confidential

                            information; that she engaged in surreptitious recording of conversations with AFT Michigan

                            staff and leaders. Her stealth has prevented the Plaint~fffrom learning the full extent of her

                            misconduct. Discovery is essential to permit Plaintiff to cut this proverbial Gordian knot and

                            discover the information taken by Defendant Jorge on behalfofDefendant Project Veritas. And

   MARK FL COUSENS          time is of the essence.
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                                       The Court should direct Defendants to promptly participate in the Rule 26(f) conference

                               and commence discovery.

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                               January 9, 2018                                         P12273


                                                                      Certificate of Service
                               I hereby certif~’ that on January 9, 2018 I electronically filed the foregoing paper with the Clerk
                               of the Court using the ECF system which will send notification of such filing to the following:
                               Paul M. Mersino.

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                               January 9,2018




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                                                         January 5,2018

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 Re:     AFT Michigan v. Project Veritas, et at
         Case No.: 2: 17-cv-13292


 Mark:

        I am writing in response to your email dated December 27, your letter dated January 2,
 and your letter and proposed motion dated January 4. You continue to assert that Project Veritas
 “must not publish, disseminate or make available any documents, recordings or other material
  .“  Judge Parker, however, disagrees, as does the First Amendment. While we thank you for
 your unsolicited advice, it is misplaced and we refer you back to Judge Parker’s December 27
 Order.

         You have also requested that we schedule a Rule 26(f) conference for the purpose of AFT
 Michigan to begin discovery in order to determine whether there are any facts that actually
 establish any of its claims. Notably, your proposed Motion to Compel and Brief in Support that
 you presented me admit that your client needs discovery in order to discover what, if any, facts
 might support AFT’s claims. I remind you of every attorney’s and party’s obligations and
 responsibilities under Fed. R. Civ. P. 11 that prior to signing pleadings, attorneys’ and/or parties
 are to conduct a reasonable inquiry into the facts and must be able to represent that any factual
 contentions have evidentiary support. Complaints without facts are not vehicles for free and
 unfettered discovery.

         As I noted to you on December 27, in response to your initial email in this string,
 Defendants currently have pending a l2(b)(6) Motion to Dismiss all of AFT’s claims. At this
 point in time Judge Parker has not issued a Notice to Appear for Case Management Status and
 Scheduling Conference, and her published practice is to not hold such a conference while a
 dispositive motion is pending. We will await further direction from the Court (either in the form
 of a Notice or an Opinion and Order on our dispositive motion). Thus, we do not concur in your
 proposed Motion to Compel and we believe it untimely and unfounded at this juncture.


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 Project Veritas/AFT Michigan
 January 5, 2018




         Please also be on notice that all Defendants reserve their rights to seek all attorneys’ fees
 and costs whenever permitted under relevant law. Should you file your Motion to Compel
 Discovery, without any authority substantiating it and when Defendants are not obligated to
 undertake what you are seeking to compel, all in contradiction to Judge Parker’s standing orders
 to the contrary, we will seek our costs and fees in having to respond to that motion.

          Also note that all Defendants reserve and retain their right to seek to recover all of their
 attorneys’ fees incurred to date. Due to your client’s unfounded and unconstitutional motion for
 injunctive relief, Defendants have incurred substantial attorneys’ fees. That motion has now
 appropriately been denied on numerous grounds. The Court has also stated all of the reasons for
 which it is unlikely that your client could prevail on a number of your claims, including your
 Trade Secret claim. Under Michigan Comp. Laws § 445.1905, the Michigan Uniform Trade
 Secrets Act, “[i]f a claim of misappropriation is made in bad faith      .   .the court may award
                                                                                  .


 reasonable attorneys’ fees to the prevailing party.” We point out that our federal courts have
 awarded such attorneys’ fees to defendants under MUTSA when plaintiffs have wrongfully
 brought and maintained MUTSA claims that are not substantiated by the facts presented. See,
 e.g., Degussa Admixtures, Inc. v. Douglas Burnett & Sika Coip., 471 F. Supp. 2d. 848 (W.D.
 Mich. 2007); aff’d 277 Fed. Appx. 530 (6th Cir. 2008) (awarding defendant its attorneys’ fees
 when the plaintiff’s claims were objectively unsupported, factually and legally, at the time of
 filing).

         Here, it is clear that your client does not have even a colorable trade secret claim and the
 documents you claim to have been taken are not even trade secrets. This was made clear by our
 legal papers and has now been confirmed by the Court’s December 27, 2017 Order. If you
 continue to maintain this claim and refuse to dismiss it (along with the others currently pending),
 and continue your unnecessary demands for expedited discovery before the Court rules on the
 pending dispositive Motion to Dismiss, it will simply underscore the bad faith with which your
 client has brought all of its claims. If this happens, and when that claim is ultimately dismissed,
 Defendants reserve their rights to recover all of their attorneys’ fees incurred to date.

                                              Thank you,



                                         Paul M. Mersino
                                       BUTZEL LONG, P.C.
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